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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS
WESTERN DIVISION

 

 

SHEILA HELMERT, WILMA BROWN and, Civil No. 4:08-CV-0342 J'LH
LORI WEST, on behalf of themselves and others
similarly Situated,

Plaintiffs and Collective
Action Representatlves,

v.
BUTTERBALL, LLC,

Defendant.

ROXIE GARNER, ROY GARNER, Civil No. 4210-cv-01025-JLH
MIGUEL ANGUIANO ARAUJO,

CHRISTOPI-IER SMITH, JOHN SNARR,

and JASON FOSTER on behalf of

themselves and others Similarly situated,

Plaintiffs and ClaSS Action
Representatives,

V.

BUTTERBALL, LLC,
and GARY R. LENAGHAN,

Del`endants.

EXHIBIT 1

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS
WESTERN DIVISION

______________________________________ __ ____ __ __________

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V.

BUTTERBALL, LLC,
and GARY R. LENAGHAN,

Defendants.

 

JOINT STIPULATION OF SET'I`LEMENT AND RELEASE

WI-IEREAS, Plaintiffs Sheila Helmert, Wilma Brown and Lori West, et al., filed a civil
action on or about April 18, 2008, individually and on behalf of all other similarly-situated
persons, against Defendant Butterball, LLC (“Butterball”) in the Eastern District of Arl<ansas,
Case No. 4:08-cv-00342~JLH.

WHEREAS, Plaintiffs Roxie Garner, Roy Garner, Miguel Anguiano Araujo, Christopher
Smith, John Snarr and James Rollins, et al., filed a civil action on or about July 22, ZUlO,
individually and on behalf of all other similarly-situated persons, against Defendants Butterball,

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Walter Peiletier, James Louis Maxvvell, lll, Keith Shoemaker, Jerry Godwin and Gary R.
Lenaghan in the Eastern District of Arkansas, Case No. 4: lO-cv-Ol OZS~JLH.1

WHEREAS, on June 12 and 13, 2012, the representatives of the plaintiffs in the Gamer`
and Helmert cases (collectively, “Plaintiffs”) and Defendants Butterball and Gary R. Lenaghan
(“Defendants”) attended a settlement conference With a mutually-agreed upon private mediator,
Joseph T. Dixon of Henson & Efron, P.A. in St. Paul and l\/linneapolis, Minnesota, to discuss a
possible resolution of this matter. Plaintiffs and Defendants continued discussing a possible
resolution of this matter With Mr. Dixon through and including July 23, 2012.

WHEREAS, it is the desire of the Parties to fully, finally, and forever memorialize, settle,
compromise, and discharge all disputes and claims that have been brought in the Helmerf and
Gamer Actions or that reasonably arise out of the facts alleged in these Actions, i.e., the alleged
practices set forth in detail in the pleadings in the Helmerr and Gamer Actions.

NOW, THEREFORE, in consideration of the mutual covenants and promises set forth
herein, the Parties enter into this loint Stipulation of Settlement and Release (hereinafter
“Settlement Agreement”), subject to the Court’s approval, as folloWs:

l. Definitions:

a. The “Settlement Class” or the “Class” consists of all current or former hourly~
paid “production employees” (defmed as Evisceration, Bagging/Pac_l<aging,
Deboning, Boxing, Boneless Rolled Turl<ey (BRT), Smoke & Bal<e, Tied
Roast and Traypack) Who Worl< or Worked at the Butterball, LLC turkey
processing plants located in Huntsville and Ozark, Arl<ansas, at any time
between October l, 2006 and July l, 20l2 as defined in Paragraph 18 belovv.
The “Settlement Class” also includes all opt-in plaintiffs in the Helmert matter
and all temporary employees included in orders of the Court. These
individuals have been identified in the class lists provided by Butterball to
Class Counsel.

b. “Class Member” means an individual Within the foregoing Class.

c. “Releasees” refers to and includes Defendants, Butterball’s present and former
subsidiaries, divisions, parent companies, holding companies, stocl<holders,
officers, directors, employees, agents, servants, representatives, attorneys,
insurers, affiliates, and the successors, heirs and assigns of any such entity or
person, as well as any individual that could be included Within the definition
of “employer” under either the Fair Labor Standards Act (“FLSA”) and
Arl<ansas Minimum Wage Act (“AMWA”) including but not limited to all
officers, directors and managers of Butterball in their personal capacities

 

' l ames Rollins Was not designated as a class representative, but remains a class member. Walter
Pelletier, J ames Louis Maxwell, III, Keith Shoemal<er and Jerry GodWin Were dismissed as
Defendants on February 2, 2011.

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d. The “Parties” refers collectively to Plaintiffs and Defendants.

e. “Class Counsel” refers to Larson - King, LLP, Zimmerman Reed, PLLP, and
the Veon Law Firm, PA.

f. “Lawsuits” means Shez'la Helmerr, er al v. Burrerball, LLC, U.S. District
Court for the Eastern District of Arl<ansas Case No. 4:08~€\/-0342 JLH and
Roxie Garner, et al v. Burterbal!, LLC, er al., U.S. District Court for the
Eastern District of Arl<ansas Case No. 4:10~CV-01025-JLH.

g. “Claims Administrator” means Simpluris, [nc., 1485 S. Semoran Blvd., Suite
6-1401, Winter Parl<, FL 32792.

h. “Effective Date” is defined as the later of: (i) the date When the time for
appeal has expired', or (ii) the date of the final resolution of any appeal of the
Settlement Agreement if an appeal has been filed and not dismissed

2. This Settlement Agreernent is made and entered into by and between the Plaintiffs
and the Defendants. This Settlement Agreement is subject to the terms and conditions hereof
and to the approval of the Court. Plaintiffs and Defendants hereby agree to fully and finally
settle, compromise and resolve all claims that were or could have been brought in the Actions, on
the terms and conditions set forth in this Settlement Agreement.

3. Nothing contained herein, nor the consummation of this Settlement Agreement, is
to be construed or deemed an admission of liability, culpability, negligence, or Wrongdoing on
the part of Defendant or any Releasees. Each of the Parties hereto has entered into this
Settlement Agreement with the intention to avoid further disputes and litigation with the
attendant inconvenience and expenses In particular, and Without limiting the generality of the
foregoing, nothing in this Settlement Agreernent shall be offered or construed as an admission of
liability, wrongdoing, impropriety, responsibility or fault whatsoever by Defendants or
Releasees, who expressly deny any liability, Wrongdoing, impropriety, responsibility or fault
Whatsoever.

4. Class Counsel have conducted a thorough investigation into the facts of the
Lawsuits, including an extensive review of voluminous documents and data produced to
Plaintiffs, and have diligently pursued investigation and prosecution of Class Membei's’ claims
against Defendants. Class Counsel’s assessment is further informed by the decisions previously
entered by the Court on respective motions filed by the Parties. Based on their own independent
investigation and evaluation, Class Counsel is of the opinion that the settlement with Defendants
for the consideration and on the terms set forth in this Settlement Agreement is fair, reasonable,
adequate, and in the best interest of the Class in light of all known facts and circumstances,
including the risk of significant delay, the risk of loss or limited recovery, and the defenses
asserted by Defendants. Defendants and Defendants’ counsel also agree the settlement as stated
in this Settlement Agreement is reasonable and fair,

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5. The Settlement Agreement contains and constitutes a full and complete settlement

and release (as defined below) by Plaintiffs, which release includes in its effect Defendants and
all Releasees.

6. Subject to Court approval of the Settlement Agreement, and on the terms and
conditions set forth in this Settlement Agreement, Defendant Butterball will pay and promise as
follows:

a. Butterball will put up a $4,250,000 fund against which Class Members can
make claims.

b. Service awards of $6,000 each to Sheila Helmert, Wilma Brown, Lori West,
Roxie Garner, Roy Garner, Miguel Anguiano Araujo, Christopher Smith, John
Snarr and Jason Foster. Service awards of $1,000 each to Angela Mansfield,
Betty Farmer, Brian Morgan, Charles Krause, Cindy Moore, Cruz Aleman,
Domingo Melendez, Douglass DeWitt, Edward Dyson, »Jeremy Lowe, less
Ella Evans, loseph Perez, Lawrence Hice, Peggy I-Iobby, Michael Yates, Nick
Davis, Pedro Perez, Shirley Phillips and Steven Van Brunt. Service awards
shall be paid out of the $4,250,000 fund.

c. Butterball will pay to each Class Member who submits a timely claim using
the agreed Ciaim Form and fulfills the conditions of the claims procedure
specified in this Settlement Agreement, the amounts contained within Exhibit
A to this Agreement. The formula the Parties and Claims Administrator will
use to determine each Class l\/lember’s share of the $4,250,000 settlement
proceeds will be based on: (l) the number of workdays worked by each Class
Meinber between October 1, 2006 and July 1, 2012; and (2) each Class
Member’s average hourly rate earned between October 1, 2006 and July l,
2012. Of the amount paid to each such Class Members, 50% will be deemed
wages and subject to normal payroll tax withholding and W~2 reporting, and
50% will be deemed non-wage income and reported on Form 1099. Defendant
Butterball shall be responsible for all employer-paid and due taxes on the
wage portions of this Settlement, including FICA, FUTA and state
unemployment, but shall not be liable for any other taxes.

d. For an interim period of eighteen months, or until the injunctive relief
requirements outlined below are coinpleted, Butterball will pay three (3)
additional minutes for donning and doffing to all employees holding positions
within the Settlement Class. Butterball will begin payment of the three (3)
additional minutes within 10 days of final approval of the settlement

e. Within 120 days of final approval of the settlement, Butterball will implement
the following changes at the Huntsville and Ozark plants to reduce the amount
of uncompensated donning and doffing time. lt is the express goal of this
term to minimize the amount of unpaid time spent on the production floor. To
implement this goal, Butterball management will take the necessary

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operational steps All of the subsequent terms below relate exclusively to
employees that are not involved in on-the~clock floor preparation

i.

ii.

iii.

iv.

vi.

vii.

viii.

ix.

Butterball will prohibit employees from going out on the floor until
four minutes before the department’s scheduled starting time (the time
the meat hits the first line station) or four minutes before the end of
breaks for the first spot on the department line.

Butterball will not allow any employees to arrive back on the plant
floor until 30 minutes after the first employees left the line for break.

Butterball will inform the employees they are not required to be at
their work stations until the product arrives at their line position at the
beginning of their shifts and the end of breaks

Butterball will inform the employees of the number of minutes it takes
(on average) for the product to get to each position on the line from the
first work station on the line.

Butterball will inform the employees they should not arrive onto the
plant floor any earlier than four minutes before the first product’s
arrival at his/her line position. lf it is practically impossible to be
ready for work without arriving more than four minutes before the first
product’s arrival, Butterball will adjust any such employee’s duties
accordinglyl

Butterball will inform the employees they do not have to arrive early
on the production floor to potentially “cover” another position if
someone is late or absent.

Butterball Will inform the employees they do not have to arrive early
to “check in” with a supervisory employee or prior to other line
positions starting operations

Butterball will make employees leave the floor promptly at the end of
the shift or beginning of unpaid breaks (if they doff and don during
their breaks) unless they are assigned to stay and are being paid for
staying.

Butterball will inform the employees that once the product stops
arriving at their work station at break or at the end of a shift, they must
exit the plant floor expeditiously

All bonuses other than any recruitment bonuses will be included in
employees’ “regular rates” for purposes of determining overtime
compensation

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xi.

xii.

Butterball will prohibit employees from swiping in more than ten
minutes before the department’s scheduled starting time, and will not
allow employees to begin donning smocks or gear they are required to
obtain at the plant or picking up equipment at the supply window
before they swipe in.

Butterball management will take the necessary operational steps to aim
at eliminating idle time after donning a smock.

At the expiration of the 120 day period, counsel for Butterball shall file with the
district court a factual, detailed affidavit explaining the changes that have been
made in each production department to comply with the terms in this Settlement
Agreement.

f. Within twelve months after final approval, Butterball will prohibit employees
from swiping in more than seven minutes before the department’s scheduled
starting time.

g. Butterball shall have eighteen (18) months after final approval of the
settlement to explore implementation of further changes After that time,
Butterball will reasonably eliminate uncompensated work time for class
members as defined by the Orders in this lawsuit during pre-shift, post-shift
and unpaid breaks at the Huntsville and Ozark plant through operational
changes of its choosing Such operational changes may include the following:

i.

ii.

iii.

iv.

vi.

Ensuring that all tools are handed out on the floor and dropped off on
the floor before or after employees’ shifts or at the end of their breaks
Employees using knives, etc. would no longer be required to pick up
these tools or sharpen them before their shifts or at the end of their
breaks

Not allowing employees to wash their knives and tools after the shift.

Steel mesh gloves, aprons and sleeves should be distributed by floor
preparation people to the line.

l~laving the employees clock in and out for their breaks and
programming Kronos to reject any swipes that are less than 30 minutes
from the time the employees swipe out for their breaks

Adding time clocks.
Assessing the practicality of switching to a punch-to-punch system,

including consideration of whether it is possible to divide up some of
the departments into groups that are small enough to be managed

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under a punch-to-punch system. Look closely to see which groups
inherently must be larger because of continuous work lines, such as in
Evisceration. Consider whether Debone can be divided up based on
stopping points in the movement of product. Prohibiting employees
from swiping in more than five minutes before the department’s
scheduled starting time.

At the expiration of the 18 month period, counsel for Butterbal] shall file a
factual, detailed affidavit with Judge Holmes certifying under oath explaining
how Butterball has reasonably eliminated the uncompensated preparatory and
concluding activities as defined by the court orders in this action before and after
employees’ shifts and unpaid breaks for each production department

h. Butterball can adjust the injunctive measures contained within paragraphs 6(d~
g) above to reflect any interim rulings by the Eighth Circuit or Supreme Court
on breaks or the definition of “actual work” time. If Butterball makes any
such adjustments, it will inform the Court. In the event Plaintiffs believe
Butterball’s adjustments under this paragraph fail to comply with existing law,
Plaintiffs and the class reserve all rights under all causes of action relating to
Butterball’s legal interpretations and Butterball’s future adjustments

i. The Court shall have continuing jurisdiction over all injunctive relief.

j. Subject to approval by the Court, Defendant Butterball agrees to pay to Class
Counsel the sum of $2,600,000 as attorneys’ fees and $430,000 in costs and
expenses, in full and complete satisfaction of all claims by Plaintiffs and their
counsel for attorneys’ fees, costs and expenses of any kind whatsoever. Class
Counsel will apply to the Court for payment of said amounts, to be approved
by the Court. Defendants and Defendants’ counsel will not oppose such a
request rl`he total attorneys’ fees and costs actually paid will be as approved
by the Court in its Final Order, subject to appellate rights Class Counsel and
Defendant agree that Defendant will make such payment by wire transfer to
Larson - King, LLP’s trust account as directed by Class Counsel within 10
days after the deadline for appeal of the Court’s final approval of the
settlement. Defendants shall not have any responsibility for allocating or
distributing either the fees or costs and expenses among the various Class
Counsel. Defendant Butterball will report the payments to Class Counsel
using an IRS Form 1099. The enforceability of this Agreement is not
contingent on the amount of attorneys’ fees or costs awarded. Without
limiting the generality of the foregoing, any dispute regarding the amount of
attorneys’ fees or costs, and/or any appeal related thereto, shall not affect or
delay the finality of this Agreement, and shall not affect or delay the entry of
judgments in the Lawsuits.

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7. The Parties agree to share equally in the l\/lr. Dixon’s fees and expenses but
Plaintiffs can include mediators’ fees in their request for costs subject to the caps and limitations
set forth herein.

MUTUAL FULL COOPERATION

8. The Parties agree to fully cooperate with each other to accomplish the terms of
this Settlement Agreement, including but not limited to, execution of such documents and to take
such other action as may be reasonably necessary to implement the terms of this Settlement
Agreement. The Parties to this Settlement Agreement shall use their best efforts, including all
efforts contemplated by this Settlement Agreement and any other efforts that may become
necessary by order of the Court, or otherwise, to effectuate this Settlement Agreement and the
terms set forth herein. As soon as practicable after execution of this Settlement Agreement,
Class Counsel shall, with the assistance and cooperation of Defendants and their counsel, take all
necessary steps to secure the Court’s approval of this Settlement Agreement and to obtain a final
judgment in the Lawsuits upon completion of the terms and conditions of the Settlement
Agreement as approved by the Court.

DUTIES ()F THE PARTIES PRIOR TO
PRELIMINARY COURT APPR()VAL

9. Promptly upon execution of this Settlement Agreement, the Parties shall apply to
the Court for the entry of an Order, substantially in the form attached as Exhibit B:

a. Granting preliminary approval of the Settlement Agreement;
b. if the Court determines that a hearing is necessary, which the Parties do not
believe is necessary, the Parties will cooperate to ensure that it takes place as

expeditiously as possible;

c. Approving as to form and content the proposed Notice of Class Action
Settlement and Settlement Hearing and Claim Form;

d. Directing the mailing of the Notice and Claim Form by first class mail to the
Class Members and published notices and plant postings as set forth herein',

e. Setting a deadline for obj ections;
f. Setting a prompt date for the final approval hearing', and

g. Setting a proposed deadline for the Court’s entry of final judgment after the
final fairness hearing for the Lawsuits

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DUTIES OF THE PARTIES FOLLOWING PRELIMINARY APPROVAL

10.

Following approval by the Court of the Settlement, the Claims Administrator will

issue the Notices of the Settlement and of the Claims Procedure in both English and Spanish.

ll.

12.

Settlement Administration.

a. Defendant Butterball has selected Simpluris, Inc. as the Claims Administrator
and shall pay all settlement administration costs and fees for Simpluris
including the mailing of the Notice and Claim Form to last known addresses
or addresses However, the Claims Administrator’s responsibilities to
communicate and handle the claims extend equally to all Parties and the
Court.

b. Defendant Butterball will not be obligated at any stage to engage investigative
services to locate Class Members, however the Claims Administrator shall
update Class Members’ last known mailing address through the National
Change of Address program certified by the United States Postal Service and
other standard skip trace methods

c. Communications by the Claims Administrator shall be made with the
representatives of all Parties

Notice to the Class Members.

a. Approximately forty (40) days before the final fairness hearing, the Claims
Administrator will send the Court-approved Notice of Class Action Settlement
and the Claim Form, substantially in the form attached hereto as Exhibits A
and C and as approved by the Court (together “Notice”), including with any
modifications at the direction of the Court, to the Settlement Class, by first-
class mail.

b. Approximately forty (40) days before the final fairness hearing, Butterball (or
the Claims Administrator) will publish in the local county newspaper the
Court~approved Notice of Class Action Settlement, substantially in the form
attached hereto as Exhibit D and as approved by the Court.

c. Approximately forty (40) days before the final fairness hearing, Butterball
will post at the I-luntsville and Ozark plants the Court~approved Notice of
Class Action Settlement, substantially in the form attached hereto as Exhibit E
and as approved by the Court.

d. Class Members will have sixty (60) days after the Notice is first mailed to
submit their Claim Form.

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13.

14.

15.
Agreement which effects a fundamental change of the Parties’ Settlement shall render the entire
Settlement Agreement voidable and unenforceable as to all Parties herein at the option of the
party adversely affected thereby. However, neither party may void the Settlement Agreement
based on the Court’s approval or non-approval of the amount of attorneys’ fees or costs The

€.

The Claims Administrator will provide a bilingual Notice of Class Action
Settlement and Claim Form.

Objections; Binding Effect

El.

Any Class Member may object to this settlement, provided that such
objections are made in writing filed with the Court and served on counsel for
the Parties no later than ten (10) days before the final fairness hearing. Such
objection shall not be valid unless it includes the information specified in the
Notice. No Class lvlember may be heard at the final settlement hearing who
has not complied with this requirement Any Class Member who fails to
comply with this requirement will be deemed to have waived any right to
object and any objection to the settlement

All Class Members will be bound by the final approval order, the judgment,
and the releases set forth in this Agreernent. However, no FLSA claims are
released by Class l\/fembers who did not opt in nor file a claim under this
Settlement Unless they have timely asserted an objection to this Agreement,
all Class Members shall be deemed to have waived all objections and
opposition to its fairness reasonableness and adequacy.

None of the Parties, their counsel, nor any person on their behalf, shall seek to
solicit or otherwise encourage anyone to object to the settlement, or appeal
from any order of the Court that is consistent with the terms of this settlement,
or discourage participation in the settlement claims process, however, Class
Counsel may advise class members how to assert their right to object.

Upon receipt, counsel for the Parties shall promptly exchange with one
another and file with the Court copies of all objections and/or challenges to
the Settlement Agreement or any part thereof.

Entry of Final Judgment.

Following final approval of this Settlement Agreeinent as specified herein, on a
form supplied by the Defendants and agreed to by the Parties, which enters final
judgment on the merits and with prejudice as to any individual or Class claims
which are released by this Settlement Agreement, upon satisfaction of all
payments and obligations hereunder.

POTENTIAL VOIDING OF THE SETTLEMENT AGREEMENT

A failure of the Court to approve any material condition of this Settlement

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Court’s failure to approve Class Counsel’s fee and cost request shall not render the remainder of
the Settlement Agreement unenforceable, but is itself subject to appellate rights

16. lf this Settlement Agreement is voided under the prior paragraphs this Settlement
Agreement shall have no force or effeet‘, all negotiations statements and proceedings related
thereto shall be without prejudice to the rights of any party, all of whom shall be restored to their
respective positions in the lawsuit prior to the settlement; and neither this Settlement Agreement
nor any ancillary documents actions or filings the Parties agreed to shall be admissible or
offered into evidence in the lawsuit or any other action for any purpose.

SETTLEMENT AGREEMENT EFFECTIVE DATE, RELEASE AND PAYMENT
PROCESSES

17. Upon the “Effective Date,” (and except as to such rights or claims as may be created
by this Settlement Agreement), each Class Member fully releases and discharges
Defendant and Releasees from any and all claims debts penalties liabilities
demands obligations guarantees costs expenses attorneys’ fees damages action or
causes of action of whatever kind or nature, whether known or unknown, that were
alleged or that reasonably arise out of the acts alleged in the Actions, which includes
all claims for time worked but not recorded as worked (“off-.the-clock” claims) for
wages and including associated liquidated damages interest, and penalty claims that
were asserted or could have been asserted in this lawsuit under state or federal law
between October 1, 2006, until the Effective Date. This release includes all off-the-
clock and donning and doffing related activities under the FLSA and AMWA plus all
off-the-clock and donning and doffing related claims under state minimum wage
laws state wage payment and collection laws state overtime statutes state common
law and unjust enrichment, and pursuant to wage contract claims for time before and
after employees production shifts and before, during and after employees’ unpaid
breaks at the I-luntsville and Ozark plants Such off-the-clock claims include any
claims derivative of wage claims being released, for the period through the Effective
Date. Class l\/lembers do not release any claim wholly unrelated to the wage and hour
subject matter, specifically including those covered by workers’ compensation,
unemployment compensation or discrimination law, or any other claims that cannot
be released by law. This release extends only to job positions within the defined
class and not to job positions held by Class Members outside the defined Class No
FLSA claims are released by Class Members who didnot opt in nor file a claim under
this Settlement Agreement. In consideration of thel future injunctive relief, and the
practical and administrative requirement to fix a class time period for purposes of
calculating settlement shares and distribution of monies the Class will not further
seek compensation for or sue regarding unpaid compensation released hereunder
between July l, 2012 and the Effective Date.

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18.

19.
Settlement Agreement and bind the Parties hereto to the terms and conditions hereof.

20.
Eastern District of Arkansas before the Honorable Leon J. Holmes or such judge as may be
designated in his stead by the procedures of the Court, who shall retain jurisdiction to enforce
this agreement

Distribution of Settlement Payments to Class Members.

21.

The Claims Administrator shall mail payments by check to Class Members
Within fourteen (14) calendar days of the Settlement Effective Date as defined
above in paragraph 17.

There shall be included language on the back of each check sent to all Class
Members by the Claims Administrator stating “By accepting this payment, l
waive any right to bring suit for back wages under the Fair Labor Standards
Act, the Arkansas l\/finimum Wage act and all other applicable state laws for
the off-the-clock claims through [z‘he Effecrfve Dal'e] at issue in the case. 1
agree that, by accepting this payment, l have settled my claims for any unpaid
wages liquidated damages interest, and associated penalties through [ihe
E]j%etive Date] for the matters released as more fully stated in the Settlement
Agreemen .”

Class Members shall have one hundred twenty (120) calendar days after the
date of mailing to cash their settlement checks

If any checks are returned as undeliverable, the Claims Administrator shall
update Class Members’ last known mailing address through the National
Change of Address program certified by the United States Postal Service and
other standard skip trace methods and will re-send the check to the new
address

If any Class Members do not cash their checks within 120 days after mailing
of the checks by the Claims Administrator and their check is not returned,
their checks will be void and a stop-payment will be placed. if any
redistributed checks are again returned as undeliverable, their checks will be
void and a stop-payment will be placed. In such event, those Class l\/[embers
will be deemed to have waived irrevocably any right in or claim to a
settlement share, but the Settlement Agreement nevertheless will be binding
upon them.

PARTIES’ AUTHORITY

The signatories hereby represent that they are fully authorized to enter into this

ENFORCEMENT ACTIONS

This Settlement Agreement is fully enforceable in the U.S. District Court for the

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NOTICES

21. Unless otherwise specifically provided herein, all notices demands or other
communications given hereunder by the Parties to this Settlement Agreement shall be in writing
and shall be addressed as follows:

To Plaintiffs:

T. Joseph Snodgrass
Kelly A. Lelo

LARsoN - KING, LLP
30 East Seventh Street
Suite 2800

St. Paul, MN 55101

rei: (651) 312-6500

Fax: (651) 312-6618

To Defendants:

Stephen X. Munger

Eric R. Magnus
JACKS()N LEWIS, LLP
1155 Peachtree St., NE
Suite 1000

Atlanta, GA 30309

Tel: (404) 525-8200

Fax: (404) 525-1173

CONSTRUCTION

22. The Parties hereto agree that the terms and conditions of this Settlement
Agreement are the result of lengthy, intensive, arm’s length negotiations between the Parties and
that the Settlement Agreement shall not be construed in favor of or against any Party by reason
of the extent to which any party or his or its counsel participated in the drafting of this Settlement
Agreement.

CAPTIONS AN]) INTERPRETATIONS
23. Paragraph titles or captions contained herein are inserted as a matter of
convenience and for reference, and in no way define, limit, extend or describe the scope of this

Settlement Agreement or any provision hereof. Each term of this Settlement Agreement is
contractual and not merely a recital.

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MODIFICATION

24. This Settlement Agreement may not be changed, altered, or modified except in
writing and signed by the Parties hereto, and approved by the Court. This Settlement Agreement

may not be discharged except by performance in accordance with its terms or by a writing signed
by the Parties hereto.

INTEGRATION CLAUSE

25. This Settlement Agreement constitutes the entire agreement between the Parties
relating to the settlement and transaction contemplated hereby, and all prior or contemporaneous
agreements understandings representations and statements whether oral or written and whether
by a party or such party’s legal counsel, agreed to by the Parties in this matter, are merged
herein. No rights hereunder may be waived except in writing.

NO PRIOR ASSIGNMENTS

26. This Settlement Agreement shall be binding upon and inure to the benefit of the
Parties hereto and their respective heirs trustees executors administrators and successors The
Parties hereto represent, covenant, and warrant that they have not directly or indirectly, assigned,
transferred, encumbered, or purported to assign, transfer or encumber to any person or entity any
portion of any liability, claim, demand, action, cause of action, or rights herein released and
discharged except as set forth herein.

CLASS C()UNSEL SIGNATORIES

27. It is agreed that because the Class Members are so numerous it is impossible or
impractical and not required to have each Class l\/lember execute this Settlement Agreement.
The Notice will advise all Class lvlembers of the binding nature of the release and such shall
have the same force and effect as if this Settlement Agreement were executed by each Class
Members.

PUBLICITY

28. Parties shall not issue any press release about the Settlement Agreement or its
terms. The Parties can reasonably respond to employees or media.

COUNTERPARTS

29. This Settlement Agreernent may be executed in counterparts and when each party
has signed and delivered at least one such counterpart, each counterpart shall be deemed an
original, and, when taken together with other signed counterparts shall constitute one Settlement
Agreement, which shall be binding upon and effective as to all Parties Signatures sent by
facsimile machine or scanned signatures in Portable Document Format sent by email shall be
deemed original signatures

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Suaaniieq(}rlfli(rj Clcneral Counsel., on behalf of
Defendant Butterball, L,L.C

s gas lllaaa/c/"“"`

Erlc R. M'a"gnu"s,_ J tison Lewis LPP, eennsel for
Defendants Butter all,.LLC and Gary R. Leriaglian

 

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134003'1

Defendant `Gary R. Lenaghaii '

r»l/-/

T. loscph cilgfa'ss, Larson - filing l.,i`.,l’, as Class
Cou|\sel behalf of Plaintitf`s and Co'lliective and
Class Actiou C`lasscs

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Dated: 36 é"/L"Ll' "',`O|Q"

afl~f'ra“~

Anne T. Regan, Zimmdrman Reed, PLLP, as Class
Counsel on behalf of Plaintiffs and Colleetive and
Class Action Classes

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Dated:
Sheila Helmert, Plaintiff and Collective Action
Representative

Dated:
Wilma Brown, Plaintiff` and Collective Action
Representative

Dated:
Lori West, Plaintiff and Collective Action
Representative

Dated:
Roxie Gamer, Plaintiff and Class Action
Representative

Dated:
Roy Garner, Plaintiff and Class Action
Representative

Dated:
Miguel Anguiano Araujo, Plaintiff and Class Action
Representative

Dated:
Christopher Smith, Plaintiff` and Class Action
Representative

Dated:
John Snarr, Plaintiff` and Class Action
Representative

Dated:

 

 

Jason Foster, Plaintiff and Class Action
Representative

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EXHIBIT A
CLAIM FORl\/I

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UNITED STATES DlSTRICT COURT
EASTERN DISTRICT OF ARKANSAS
WESTERN DIVISION

 

SHEILA HELMERT, WILMA BROWN and, Civil No. 4:08-CV-0342 JLH
LORI WEST, on behalf of themselves and others
similarly situated,

Plaintiffs and Collective
Action Representatives,

v .
BUTTERBALL, LLC,

Defendant

ROXIE GARNER, ROY GARNER, Civil No. 4110-cv-01025~JLH
MIGUEL ANGUIANO ARAUJO,

CHRISl`OPfIER SMITH, .lOHN SNARR,

and JASON FOSTER on behalf of

themselves and others similarly situated,

Plaintiffs and Class Action
Representatives,

V.

BUTTERBALL, LLC,
and GARY R. LENAGHAN,

Defendants.

TIME SENSITIVE CLAIM FORM
Name
Address
City, State, Zip

lf your name or address is different from those shown above, print the corrections on the lines
above and to the right.

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YOU MUST C()MPLE'I`E AND SUBMIT THIS FORM BY

|INSERT DATE|

TO BE ELIGIBLE T() RECEIVE MONEY FROM THIS SETTLEMENT

IF YOU DO NOT SUBMIT IT BY [INSERT DATE[, YOUR CLAIM WILL BE
REJECTED

YOU MUST SIGN AND RETURN THIS CLAIM FORM IN THE SELF ADDRESSED
POSTAGE PRE-PAID ENVELOPE INCLUDED, OR MAIL IT TO THE ADDRESS
BELOW BY . YOU MAY ALSO SUBMIT CLAIMS TO THE FAX
NUMBER OR EMAIL AI)DRESS IDENTIFIED BELOW.

Butterball Claims Administrator
Simpluris, lnc.
1485 S. Semoran Blvd., Suite 6~1401
Winter Park, FL 32792
Fax: (714) 824~8591
Email:

l. lNSTRUCTlONS

1, You must sign and return this Claim Form by fax, e~mail or mail in order to be eligible to
be paid money from this Settlement Your Claim Form must be received or postmarked
on or before the date above, or it will be rejected.

2. lf you move, please send your new address to the address shown above. lt is your
responsibility to keep a current address on file at the address shown above.

3, lf you sign and return this Claim Form and it is either received or postmarked on or
before the date above, then provided the Court gives final approval to the settlement, you
will be sent a check for the applicable amounts based on when and where you worked for
Butterball, LLC during the relevant time period as provided in the Settlement Agreement.

4. Submitting a claim will not impact your employment with Butterball, LLC in any way.

ch, I Wish to be a part of this settlement and this casc. My signature constitutes a full and
complete release by me of Butterball, LLC, and its present and former subsidiaries divisions
parent companies holding companies stockholders officers directors employees agents
servants representatives attorneys insurers affiliates successors and assigns and any
individual or entity which could be jointly liable with Butterball, LLC, for all claims alleged in
the Helmert and Garner Actions against Butterball, LLC, including all off~the-clock wage/hour
claims under the Fair Labor Standards Act (“FLSA”) or Arkansas l\/linimum Wage Act
(“AMWA”) plus all off-the-clock claims under state minimum wage laws state wage payment
and collection laws state overtime statutes under state common law and unjust enrichment, and

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pursuant to wage contract claims including penalties under the FLSA and applicable state laws
interest, attorneys’ fees and costs liquidated damages punitive damages or penalties under
federal and state law. Such off“the-clock claims include any claims derivative of wage claims
being released, for the period through the Eff`ective Date of Settlement

 

(Sign your name here)

 

Print Your Name Here

( l
Area Code Daytime Phone #

 

Email address (optional)

(Date)

 

Forrner Names (if any)

( l
Area Code Evening Phone #

 

 

Social Security Number (if available)

Home address

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Exhibit B
Order of Preliminary Approval

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UNITED STATES DISTRICT COURT
EASTERN DlSTRlCT OF ARKANSAS
WESTERN DlVlSION

SHElLA l-IELMERT, WILMA BROWN and, Civil No. 4:08-CV-0342 JLl-l
LORI WEST, on behalf of themselves and others
similarly situated,

Plaintiffs and Collective
Action Representatives,

v.
BUTTERBALL, LLC,

Defendant

________________________________________________________________

ROXIE GARNER, ROY GARNER, Civil No. 4:10-cv-01025-JLH
MIGUEL ANGUIANO ARAUJO,

CHRISTOPHER SMITH, JOHN SNARR,

and JASON FOSTER on behalf of

themselves and others similarly situated,

Plaintiffs and Class Action
Representatives,

V.

BUTTERBALL, LLC,
and GARY R. LENAGHAN,

Defendants.

IPROPOSEI)I ORDER OF PRELIMINARY APPROVAL
Upon consideration of the .loint Motion for Preliminary Approval of the class-wide
settlement and its supporting memorandum, exhibits and affidavitJ and

lt appearing that the proposed settlement is fair and reasonable, and

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lt further appearing that Notice of the Proposed Settlement and an opportunity to object
will be sent to all class members
lt is therefore this _W day of 2012:
ORDERED that the Parties’ class-wide settlement is preliminarily fair and reasonable',
ORDERED that for purposes of settlement a Settlement Class is certified consisting of
the following class:
The “Settlement Class” or the “Class” consists of all current or former
hourly-paid “production employees” (defined as Evisceration,
Bagging/Packaging, Deboning, Boxing, Boneless Rolled Turkey (BRT),
Smoke & Bake, Tied Roast and Traypack) who work or worked at the
Butterball, LLC turkey processing plants located in Huntsville and Ozark,
Arkansas, at any time between October 1, 2006 and July 1, 2012. The
c‘Settlement Class” also includes all opt-in plaintiffs in the Helmerl matter
and all temporary employees included in orders of the Court. These

individuals have been identified in the class lists provided by Butterball to
Class Counsel.

ORDERED that:

¢ All capitalized terms not otherwise defined in this Order shall have the same meaning
ascribed to them in the Parties’ Settlement Agreement',

¢ Simpluris lnc. will serve as “Claims Administrator” in providing notice, objection,
claim process and administration services under the Settlement Agreement, if
preliminarily or finally determined to be fair;

0 Approximately forty (40) days before the final fairness hearing (September 26, 2012),
the Claims Administrator shall send by first-class mail the Notice of Proposed
Settlement (including Claim Form) to all class members;

0 Approximately forty (40) days before the final fairness hearing (September 26, 2012),
Butterball (or the Claims Administrator) will publish in the local county newspaper

the Court-approved Notice of Class Action Settlement

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o Approximately forty (40) days before the final fairness hearing (September 26, 2012),
Butterball will post at the Huntsville and Ozark plants the Court-approved Notice of
Class Action Settlement
¢ Class members shall lodge objections or submit claims as set forth in the Notice of
Proposed Settlement (including Claim Form), which were jointly proposed by the
Parties and filed with the Court', n
ORDERED that the form and content of the Notice of Proposed Settlement set forth in
the Joint Motion for Preliminary Approval is adequate, proper, comports with Due Process and
are hereby approved;
ORDERED that a final fairness hearing be held on November 5, 2012 at the U.S. District
Court for the Eastern District of Arkansas, 500 West Capitol Avenue ~ Little Rock, AR 72201;
ORDERED that counsel for the Parties shall file motion papers for final approval of all
terms of the Settlement Agreernent no later than fourteen (14) days before the final fairness
hearing (()ctober 22, 2012); and it is
ORDERED that the Helmerr and Garner actions are stayed pending the Court’s ruling on
the settlement at the final approval hearing
Counsel for the Parties are hereby authorized to jointly use all reasonable procedures in
connection with approval and administration of the settlement that are not materially inconsistent
with this Order or the Settlement Agreement, including making, without further approval of the
Court, minor changes to the form or content of the Notice, and other exhibits that they jointly

agree are reasonable or necessary.

 

l-lonorable Leon Holmes
United States District Judge

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Exhibit C
Notice

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UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF
ARKANSAS

A Federal Court authorized this monica Thi's is not a solicitation from a lawyer.
NOTICE OF CLASS ACTION SETTLEMENT AND SETTLEMENT HEARING

You are receiving this Notice because you are or were a Butterball Employee and are part of a
group of Employees at the Huntsville and Ozark plants called a “Class,” who brought two
lawsuits against Butterball. These two “Lawsuits” claim that, in violation of federal and
Arkansas law, Butterball employees were not paid all wages for off-the-clock, pre- and post-
shift, and meal break work time. Butterball denies these allegations

The Employees in the Class are:

All current or former hourly-paid “production employees” (defined as
Evisceration, Bagging/Packaging, Deboning, Boxing, Boneless Rolled Turkey
(BRT), Smoke & Bake, Tied Roast and Traypack) who work or worked at the
Butterball, LLC turkey processing plants locating in l-luntsville and Ozark,
Arkansas at any time between October l, 2006 and July 1, 2012. This includes
any employees who were placed by temporary agencies to work in these plants

A proposed Settlement has been reached in these Lawsuits that affects your rights T he purpose
of this Notice is to inform you of the settlement terms and your rights and options in connection
with the Settlement lf the Settlement is finally approved, it will resolve all claims in the
Lawsuits

 

, voUn'LEGAL mcnfs AND oP'rIoNs

FILL OUT THE CLAIM Fill out the settlement Claim Form to receive money. Agree to the
FORM release of certain claims against Butterball, LLC.

 

lf you wish to participate in the settlement and receive a money award, anc
agree to be bound by the class action settlement and release describe<
above, you must complete and return the attached Claim and Release Form
which must be faxed, e-mailed or mailed to Simpluris lnc., 1485 S
Semoran Blvd., Suite 6-1401, Winter Park, FL 32792 [insert fax numbe:
and email address]. rl`he Claim and Release Form must be received or post-
marked on or before , 2012.

 

 

 

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OBJECT TO THE
SET'I`LEMENT

 

State your objection to the settlement Get no money from it.

If you believe the Settlement should not be approved by the Court for any
reason, you may state your objections to the Court. If you wish to do so
you must mail a letter to counsel for the Parties stating why you object tc
the Settlement on or before __, 2012. Counsel for the parties wil
promptly exchange with one another and flle with the Court copies of al
objectionsl

 

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wHAT THIS ‘isdi`!_CE CoNTAINs '

 

 

Why did l get this notice? ......................................................................................... [insert page #s]
What is this lawsuit about? ....................................................................................... [insert page #s]
What are the settlement terms? ................................................................................ [insert page #s]
When is the final approval hearing? ........................................................................ [insert page #s]
What if I have objections to the settlement‘? ............................................................ [insert page #s]
What if my address changes ..................................................................................... [insert page #s]
Where do I find more information? ......................................................................... [insert page #s]
Who do l contact if l have questions? ..................................................................... [insert page #s]
Time Sensitive Claim Form ........................................ , ......... .............................. [insert page #s]

 

 

 

W_hy did`i lgét`i'this -i§to't'ic'e}? _ " _'

 

You are part of a group of Employees that worked at the Huntsville and Ozark Butterball plants,
called a Class, that were the subject of the two Lawsuits. On , 2012, the judge
overseeing this case preliminarily approved a Settlement and ordered that this Notice be sent to
all Employees in the Class. This Notice explains what you can get from the Settlement and what
rights are affected

You are entitled to participate in this settlement regardless of your immigration status Your
immigration status will not be the subject of this lawsuit, nor will it affect your right to recovery.
You have right to participate in this settlement if you fulfill the conditions detailed in the mailing
regardless of your immigration status.

Butterball will not and cannot retaliate against you for participation or non-participation in the
Settlement.

If you are receiving this Notice, you are entitled to submit a Claim Form and receive a
payment under the Settlement

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.What 'are`these-Layiisuits about" ' 'r

 

These Lawsuits allege that, in violation of federal and Arkansas law, Butterball employees are
not paid all wages to which they were entitled under the law. The Employees have said that they
work off~the-clock, both pre- and post-shift and during meal breaks. The Lawsuits have asked
for damages from Butterball for the alleged unpaid overtime wages, liquidated damages and
other applicable penalties, and attorneys’ fees and expenses

Butterball states that it paid its employees all compensation it owed to them and that it has
complied with federal and state law. Butterball denies any liability or wrongdoing of any kind.

Judge Lcon Holmes of the United States District Court for the Eastern District of Arkansas is
overseeing these lawsuits. These lawsuits are known as Heimerl' v. Butterball, LLC, No. 4:08~
CV-0342~JLH and Garner v. Butterball, LLC, No. 4:10~cv»01025-JLH, both in the Eastern
District of Arkansas.

 

l What are the Settlement term's? --

The Settlement Agreement requires that Butterball create a $4,250,000 Settlement fund to pay
each eligible Employee who submits a Claim Form on time, using the Claim Form attached to
this Notice. Each Employee’s share of the settlement will be calculated using a formula that will
take into account each Employee’s average hourly rate and the Employee’s length of
employment between October l, 2006 and July l, 2012. In addition, Butterball has agreed to pay
service awards of $6,000 to each of the nine Named Plaintiffs in this case, and $1,000 to each of
the l9 Class member Employees who were deposed in this case, These service awards will be
paid out of the $4,250,000 fund.

ln addition, Butterball has agreed to change its pay practices at the Huntsville and Ozark plants,
As it makes these changes, Butterball will pay three (3) additional minutes in compensation per
workday to all Employces in the Class. Butterball will begin payment of the three (3) additional
minutes within 10 days of the judge’s final approval of the settlement

ln addition, Butterball has agreed to make the following changes:

0 Butterball will implement a series of changes at the Huntsville and Ozark plants to reduce
the amount of uncompensated donning, doffing and production l'loor time within the
plants. The goal of these changes is to minimize and ultimately eliminate any unpaid time
in the plants spent donning, doffing or on the production tloor.

0 All bonuses other than any recruitment bonuses will be included in Ernployees’ regular
rates of pay for purposes of determining overtime compensation

These changes must be made within the times specified in the Settlement Agreement, which you
may obtain by downloading it at

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HoW can I make my claim?

You must fill out the Claim and Release Form that is attached to this Notice and return it by fax,7
e-mail or mail to Simpluris, Inc., 1485 S. Semoran Blvd., Suite 6-1401, Winter Park, FL 32792
[insert email address and fax and toll free number]. The Claim and Release Form must be
received or post-marked on or before , 2012.

A check for your share of the Settlement will be sent to you at your most current address

available at the time of payment, so it is important that you tell Simpluris if you move or your
address has changed

How long do I have to cash my check?

Your Settlement check will have a date on it. The settlement checks will be valid for one
hundred twenty (120) days, unless the check is returned due to a bad address, in which case, the
check will be reissued. You will have 120 days from that date to cash your check.

If you lose your check or it is damaged in the mail, contact Simpluris, the Claims Adrninistrator.
You may be able to have it reissued, provided you ask within the 120 day time period.

lf you do not cash your check within 120 days of the date it was issued, your money will go back
to Butterball.

Will I owe any taxes?

Fifty percent (50%) of the amount you receive will be wage income and subject to normal
payroll tax withholding and W-2 reportingl These deductions will be taken out of your settlement
check. The other half of your recovery (50%) will be deemed non-Wage income. Deductions
will not be taken out of this part of the amount you receive. l'lowever, it will be reported on a
Form 1099 that you will receive in 2012.

if you have questions about the tax consequences of the payment to you, you should consult with
an accountant or other tax advisor.

What rights am 1 giving up by submitting a claim form?

You will give up any right to file a separate lawsuit alleging the same or similar claims as these
Lawsuits. Even if you do not file a claim form, because you are a member of the previously
certified Class, you give up your right to file a case under state or federal law that claims that
Butterball did not correctly pay you any wages or overtime since October l, 2006 until July l,
2012. You also agree to fully release and discharge Butterball from any and all claims, debts,
penalties, liabilities, demands, obligations, guarantees, costs, expenses, attorneys’ fees, damages,
action or causes of action of whatever kind or nature, whether known or unknown, that were
alleged or that reasonably arise out of the acts alleged in the Lawsuits, which includes all claims
for time worked but not recorded as worked (“off-the-clock” claims) for wages, and including

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associated liquidated damages interest, and penalty claims that were asserted or could have been
asserted in these Lawsuits under state or federal law between October l, 2006 until July 1, 2012.
This release includes all off~the-clock and donning and doffing related activities under the Fair
Labor Standards Act (“FLSA”)_unless you previously did not file an opt-in form and do not
send in a Claim Form-- and Arkansas Minimum Wage Act (°‘AMWA”), plus all off-the-clock
and donning and doffing related claims under state minimum wage laws, state wage payment and
collection laws, state overtime statutes, state common law and unjust enrichment, and pursuant to
wage contract claims for time before and after employees production shifts and before, during
and after employees’ unpaid breaks Such off-the-clock claims include any claims derivative of
wage claims being released, for the period through July 1, 2012.

You are not releasing or waiving any claim wholly unrelated to wage and hour claims, such as
those covered by workers’ compensation law, state or federal discrimination laws, or state or
federal unemployment compensation laws Further, you are not releasing or waiving any
claim(s) relating to job positions not at issue in the Class

Your release of claims will be only effective if the Court grants final approval of the Settlement
Do I have to pay any attorneys or other costs?

No. Your settlement share, and the $4,250,000 fund for employees will not be increased or
reduced by the amounts if any, awarded to the attorneys in the lawsuits

The Court previously appointed the law firms of Larson King, LLP, Zimmerman Reed, PLLP,
and the Veon Law Firm, P.A., as the attorneys for the Class in this case. (“Class Counsel”).

Under the Settlement, Butterball is required to pay Class Counsel in this case. The Settlement
provides that Class Counsel may request that the Court award them up to $2,600,000 in
attorneys’ fees and reimburse them up to $430,000 in costs and expenses that they expended in
prosecuting these Lawsuits on behalf of the Class

Any payments to the attorneys must be approved by the Court. To date, Class Counsel has been
prosecuting the lawsuits without being paid, while advancing the costs and expenses of litigation
on behalf of the Class

The Settlement is being administered by Siinpluris, lnc., 1485 S. Semoran Blvd., Suite 6-1401,
Winter Park, FL 32792. Butterball will pay the costs of the Claims Administrator.

 

| when is she anal-approvalhearings-

 

The Final Approval Hearing will be held on November 5, 2012 at _ p.m. in Courtroom _ at the
United States District Courthouse for the Eastern District of Arkansas, 500 West Capitol
Avenue, Little Rock, AR, 72201. At that hearing, the Court will determine if the Settlement is
fair, reasonable, adequate, and in the best interests of the groups of Butterball employees defined

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in the beginning of this Notice. The Court may postpone the hearing or change its location
Without further notice to you.

You are not required to attend the Final Approval Hearing, although you may do so. If you are
satisfied with the Settlement there is no need for you to appear.

 

|;*Whet ir 1 have ebje'etien'e--te..che settlements

lf you have objections to the settlement, you must state them in writing and mail them to the
counsel for the Parties at the following addresses for filing with the Court, on or before

 

 

Class Counsel: Class Counsel: Defense Counsel:

T. Joseph Snodgrass J . Gordon Rudd Stephen X. Munger
Kelly A. Lelo Anne T. Regan Eric R. Magnus
Larson ' King, LLP t Zimmerman Reed PLLP Jackson Lewis, LLP
30 East Seventh Street 1100 IDS Center 1155 Peachtree Street
Suite 2800 80 South 8th Street Suite 1000

St. Paul, MN 55101 Minneapolis, MN 55402 Atlanta, GA 30306

 

 

 

All objections or other correspondence must state the name and number of the Lawsuits which
are Sheiici Helmert, et di v. Butterball LLC, Case No. 4:08-CV~0342 JLH and Roxi'e Garner, et
al. v. Bul'terball, LLC, et ai., Case No, 4:10-cv-01025-JLH. If you do not follow the procedures

for objecting described above, you will be deemed to have waived any objection to the
Settlement

If you send a statement in writing of your objection, you may also come to the Court for the
Approval Hearing to have your objections heard by the Court orally. Any attorney who will be
representing anyone at the Final Approval Hearing must file a notice of appearance with the
Court on or before 14 days prior to the Hearing.

 

 

| where del unaware infermeaen?, ;;

Tliis Notice is only a summary of the Case and the Settlement For a more detailed statement of
the Case or Settlement, you may refer to the pleadings the Settlement Agreement, and the other
papers filed in the Case, which may be inspected at the Office of the Clerk of the U.S. District
Court for the Eastern District of Arkansas, 500 West Capitol Avenue - Little Rock, AR 72201,
during regular business hours of each court day. You also may obtain copies of this Notice
and/or the Settlement Agreement or further information regarding the Settlement from the
Claims Administrator [toll free number], or Class Counsel at 1-877-373-5501.

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ll Who. dol contact if.l'i`h_`ave furth`eri questions? ' '

All questions or inquiries regarding this Notice and/or Settlement, including the amounts
estimated to be payable to you if the Settlement is approved, should be directed to the Claims
Administrator Simpluris lnc., 1485 S. Semoran Blvd., Suite 6-1401, Winter Park, FL 32792 [toll
free number].

lf you have a question for Class Counsel, you can contact Monica Reimnitz at
mrcimnitz@larsonking.com oi' 1-877~373-5501 or write to Larson ~ King, LLP, 30 East
Seventh Street » Suite 2800, St. Paul, MN 55101.

PLEASE DO NOT CONTACT THE C()URT OR THE JUDGE WITH ANY INQUIRIES.

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EXhibit D
Plant Posting

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NOTICE

If you are or Were an hourly production employee
at Butterball’s Huntsville or Ozark, Arkansas plants
you may be part of a class action settlement and
entitled to relief.

Some hourly production employees working in the Evisceration, Bagging/Packaging, Deboning,
Boxing, Boneless Rolled Turkey (BRT), Smoke & Bake, Tied Roast and Traypack departments
at the Huntsville and Ozark, Arkansas plants have settled a class and collective action against
Butterball. These employees contend that Butterball has failed to pay wages for all the time the
employees are entitled to under federal and Arkansas state law. Butterball disputes these
allegations and asserts the Company has properly paid employees consistently with all applicable
laws The Court has preliminarily approved the settlement

The Court has authorized the posting of this Notice.

lf` you work or Worked at the Butterball processing plants located in Huntsville and Ozark,
Arkansas between October 1, 2006 and July l, 2012, you should have or will shortly receive a
Court~approved notice by mail. The notice provides detailed instructions on how to participate
in or object to this settlement

You are entitled to participate in this settlement regardless of your immigration status Your
immigration status will not be the subject of this lawsuit, nor will it affect your right to recovery.
You have right to participate in this settlement if you fulfill the conditions detailed in the mailing
regardless of your immigration status

Butterball will not and cannot retaliate against you for participation or non-participation in the
settlement

All questions or inquiries regarding this Notice and/or Settlement, including the amounts
estimated to be payable if the Settlement is approved, should be directed to the Claims
Administrator, Simpluris lnc., 1485 S. Semoran Blvd., Suite 6-1401, Winter Park, FL 32792. lf
you have a question for Class Counsel, you can contact Monica Reimnitz at 651-312-6500 or
Toll Free at 1-877-373 -5501, or write to LARS()N ' KING, LLP, 30 East Seventh Street, Suite
2800, St. Paul, MN 55101. PLEASE DO NOT CONTACT THE COURT, THE JUDGE, OR
DEFENDANT’S ATTORNEYS WITH ANY INQUIRIES.

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EXhibit E
Newspaper Advertisement

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Butterball Turkey Processing
Workers

lf you are or were an hourly production employee for Butterball
in its Huntsville or Ozark, Arkansas plants a settlement of a
class action lawsuit may entitle you to back wages

The lawsuit is on behalf of all current or former hourly-paid production employees
(defined as Evisceration, Bagging/Packaging, Deboning, Boxing, Boneless Rolled
Turkey (BRT), Smoke & Bake, Tied Roast and Traypack), who work or worked at
the Butterball turkey processing plants located in Huntsville and Ozark, Arkansas
at any time between October 1, 2006 and July 1, 2012. This includes any
employees who Were placed by temporary agencies to work in these plants

Workers entitled to participate in the settlement should receive a Court~approved
notice by mail. The notice provides detailed instructions on how to participate, not
participate, or object to the settlement of this case.

HOW CAN l GET MORE INFORMATION?

All questions or inquiries regarding this Notice and/or Settlement, including the
amounts estimated to be payable if the Settlement is approved, should be directed
to the Claims Administrator, Simpluris lnc., 1485 S, Semoran Blvd., Suite 6-1401,
Winter Park, FL 32792. lf you have a question for Class Counsel, you can contact
Monica Reimnitz at 651-312-6500 or Toll Free at 1-877-373-5501, or write to
LARSON ° KING, LLP, 30 East Seventh Street, Suite 2800, St. Paul, MN 55101.
PLEASE DO NOT CONTAC'I` THE COURT, THE JUDGE, OR DEFENDANT’S
ATTORNEYS WITH ANY lNQUlRlES.

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